
		
OSCN Found Document:IN RE ADOPTION OF THE 2024 REVISIONS TO THE OKLAHOMA JURY INSTRUCTIONS-CRIMINAL (SECOND EDITION)

					

				
  



				
					
					
						
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				IN RE ADOPTION OF THE 2024 REVISIONS TO THE OKLAHOMA JURY INSTRUCTIONS-CRIMINAL (SECOND EDITION)2024 OK CR 5Case Number: CCAD-2024-2Decided: 03/06/2024

Cite as: 2024 OK CR 5, __  __

				

ORDER VACATING AND WITHDRAWING PREVIOUSORDER ADOPTING AMENDMENTS TO OKLAHOMAUNIFORM JURY INSTRUCTIONS-CRIMINAL (SECOND EDITION)
Based on the Court's further amendments to the Oklahoma Uniform Jury Instructions-Criminal (Second Edition) (OUJI-CR(2d)), the previous order adopting amendments is VACATED. The order issued in In Re Adoption of OUJI-CR(2d) (2024 Supp.), 2024 OK CR 2, is WITHDRAWN. The Court will issue a separate order adopting amendments to OUJI-CR(2d).

IT IS SO ORDERED.
WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 6th day of March, 2024.
&nbsp;

/S/SCOTT ROWLAND, Presiding Judge
/S/WILLIAM J. MUSSEMAN, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/DAVID B. LEWIS, Judge
/S/ROBERT L. HUDSON, Judge
&nbsp;
ATTEST:
/s/John D. HaddenClerk





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